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                                                                                             ,;:?-,.){)!(
                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                  )
                                                                               w ~ ©II{ ii WH£@
                                           )
                Plaintiff,                 )
                                           )                                   By
       v.                                  )      Case No. 5:14-CV-2663-JLS
                                           )
DOROTHY A. RECARDE and ROBIN               )
L. MARCELLO, in her capacity as            )
Chester County (Pa) Clerk of Court,        )
                                           )
                Defendants.                )
~~~~~~~~-)

                              REQUEST TO ENTER DEFAULT

TO THE CLERK OF THE COURT:

      Please enter the default of DORTHY A. RECARDE, for failing to appear in that

she has failed to plead or otherwise defend as provided by Rule 55(a), Fed. R. Civ. P., as

appears from the sworn declaration of Beatriz T. Saiz, attached hereto.

Dated: January 16, 2015

                                    ZANE D. MEMEGER
                                    United States Attorney

                              By:   ls/Beatriz T. Saiz
                                    BEATRIZ T. SAIZ
                                    Trial Attorney, Tax Division
                                    U.S. Department of Jus~~ _)..
                                    Post Office Box 22'.Z.·n--i '~J
                                    Ben Franklin st6f,~f1r
                                    Washington, D. C. 20044
                                    Telephone: (202) 307-6585
                                    Email: Beatriz.T.Saiz@usdoj.gov
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               - SPECIMEN ONLY -

         "Your" offer of contract is received and
         accepted for value, timely, without
         dishonor.and with consideration IS
 1..•    RETURNED to "You"· r~drafted of My
         choosing WISHING NO CONTRACT
         with ''.Yi.u" in full accord with FAIR
         DEBT COLLECTION, Regulation Z,
         TRUTH IN LENDING                       ~
           1. I do not know "You".
          2. I do not know where "You" come
              from. "                    \·
                                            ,\    .,.:'

          3. I do not understand "Your.;.' intent.
          4. I do not recognize "You" . .
          5. "You" have failed to comply with 26
              USC 6065 and others which require
              "Your" wet-ink autognu:dfunder the
              penalties of perjury. ,\, , .
                                       1
          6. "You" have failed to stat~ a'claim
              upon which relief can b~fl~ranted.
        If "You", and all-"You"-are, are
        representing Me or think "You" are
        representing Me, "Youl' ;a·r e ·F ired.
        "You" are Fired. "You" are "hereby and
        forever Fired.
                            '          .
                                                          "+:,\       .. f_'·



        In the Special Appearance by:
                                              \   .
              Dorothy A. Recarde

               not a corporation; the Liv,\ng Soul
               under reserve, without dishonor,
              without prejudice, without recourse
              "in good faith, no dolus

              by:~~.A.Gc~
                  Power-of-Atorney-in-Fact
                  No Assured Value
                  Non-Ass umpsit
                                                                  u
                                                                  B~~ldd..~~~~~~~
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            Case 5:14-cv-02663-JLS Document 13 Filed 01/28/15 Page 5 of 12




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                 )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )      Case No. 5:14-CV-2663-JLS
                                          )
DOROTHY A. RECARDE and ROBIN              )
L. MARCELLO, in her capacity as           )
Chester County (Pa) Clerk of Court,       )
                                          )
               Defendants.                )
-------------)

                                 ENTRY OF DEFAULT

       Default is hereby entered against defendant, DOROTHY A. RECARDE,

pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, for having failed to

appear, plead or otherwise defend in this action.



      Dated this__ day of _ _ ___, 2015.



                                              CLERK, U.S ~ DISTRICT COURT
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                    IN THE UNITED ST ATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA,                   )
                                             )
                 Plaintiff,                  )
                                             )
         V.                                  )      Case No. 5:14-CV-2663-JLS
                                             )
 DOROTHY A. RECARDE and ROBIN                )
 L. MARCELLO, in her capacity as             )
 Chester County (Pa) Clerk of Court,         )
                                             )
                 Defendants.                 )
~~~~~~~~-)

                              DECLARATION OF BEATRIZ T. SAIZ

        I, BEATRIZ T. SAIZ, pursuant to 28 U.S.C. Section 1746, do hereby declare as

follows :

        1.       I am a trial attorney with the Tax Division of the United States

Department of Justice in Washington, D.C.

        2.       As part of my duties as a trial attorney with the Tax Division, I have been

assigned litigation responsibility for the above-captioned civil action.

       3.       On October 17, 2014, defendant DOROTHY A. RECARDE was personally

served with a summons and a copy of the complaint in this case. The summons and

return of service were filed and entered with the Court on January 14, 2015. (Doc. Entry

No. 10.) .

       4.       Pursuant to Rule 12(a)(l)(A)(i) of the Federal Rules of Civil Procedure,

defendant DOROTHY A. RECARDE, was required to serve an answer to this complaint
                                                    UNO ·RR
                                                                ~Y            .              , Agent
                                                                 ot a corpor ·ion, the Living oul
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by December 16, 2014, and time for such response has not been extended by the Court.

      5.      Defendant DOROTHY A. RECARDE, failed to appear, plead or otherwise

defend this action by.

      6.     Upon information and belief, defendant DOROTHY A. RECARDE is

neither an infant nor incompetent.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on: January 16, 2015


                                                       /s/Beatriz.T. Saiz
                                                       BEATRIZ T. SAIZ




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                 IN THE UNITED ST ATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA,                )
                                          )
              Plaintiff,                  )
                                          )
       V.                           )           Case No. 5:14-CV-2663-JLS
                                    )
DOROTHY A RECARDE: and ROBIN )
L. MARCELLO, in her capacity as     )
Chester County (Pa) Clerk of Court, )
                                         )
              Defendants.                )
~~~~~~~~-)

                                CERTIFICATE OF SERVICE

       IT IS HEREBY CERTIFIED that the foregoing REQUEST TO ENTER DEF A ULT,

DECLARATION OF BEATRIZ T. SAIZ and proposed ENTRY OF DEFAULT was

served on the 16th day of January, 2015 by placing true copies and correct copies thereof

in the United States mail, postage prepaid, and properly served upon the following:

                             Dorothy A. Recarde
                             277 West Shady Road
                             Kirkwood, PA 17536




                                                          Isl Beatriz T. Saiz
                                                             BEATRIZ T. SAIZ
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                                                                 ITH C PY-CLAIM
                                           By                                 Agent
                                           Not a corpor· ion , th~ l..ivm r; Soul
